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                     EXHIBIT 12
                                                                       MOBILITY
3839422                                 Case 2:22-cv-01527-DAD-AC Document 61-13 Filed 03/06/24 Page 2 of 5
01/21/2024                    AT&T has queried for records from 06/25/2022 12:00:00am to 09/01/2022 11:59:59pm
                              AT&T has queried for records using Pacific Time Zone. AT&T's records are stored and provided in
                              UTC.



Run Date:                   01/21/2024
Run Time:                   14:33:22
Voice Usage For:                     -1024

Item     Conn.      Conn.      Seizure       ET     Originating        Terminating                 IMEI                 IMSI        CT   Feature
         Date        Time        Time               Number             Number
                    (UTC)




1099   07/22/22    18:17:13      0:17        4:00          6789               1024           3509058269944117     310280017634648   MT   [NIOP]
                                                                                                   APPLE
                                                                                                IPHONE12PRO




                                                                  AT&T Proprietary
                                                                                                                                         Page 69
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                                                  for general distribution.
                                                                       MOBILITY
3839422                                 Case 2:22-cv-01527-DAD-AC Document 61-13 Filed 03/06/24 Page 3 of 5
01/21/2024                    AT&T has queried for records from 06/25/2022 12:00:00am to 09/01/2022 11:59:59pm
                              AT&T has queried for records using Pacific Time Zone. AT&T's records are stored and provided in
                              UTC.



Run Date:                   01/21/2024
Run Time:                   14:33:22
Voice Usage For:                     -1024

Item     Conn.      Conn.      Seizure       ET     Originating        Terminating                 IMEI                 IMSI        CT   Feature
         Date        Time        Time               Number             Number
                    (UTC)




1101   07/22/22    18:22:55      0:06        1:29          1024               9107           3509058269944117     310280017634648   MO     []
                                                                                                   APPLE
                                                                                                IPHONE12PRO
1102   07/22/22    18:29:13      0:22        4:07          1024               4463           3509058269944117     310280017634648   MO     []
                                                                                                   APPLE
                                                                                                IPHONE12PRO



1104   07/22/22    19:22:08      0:11        2:11          4463        15305181024           3509058269944117     310280017634648   MT   [NIOP]
                                                                                                   APPLE
                                                                                                IPHONE12PRO




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                                                                                                                                         Page 70
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                                                                       MOBILITY
3839422                                 Case 2:22-cv-01527-DAD-AC Document 61-13 Filed 03/06/24 Page 4 of 5
01/21/2024                    AT&T has queried for records from 06/25/2022 12:00:00am to 09/01/2022 11:59:59pm
                              AT&T has queried for records using Pacific Time Zone. AT&T's records are stored and provided in
                              UTC.



Run Date:                   01/21/2024
Run Time:                   14:33:22
Voice Usage For:                     -1024

Item     Conn.      Conn.      Seizure       ET     Originating        Terminating                 IMEI                 IMSI        CT   Feature
         Date        Time        Time               Number             Number
                    (UTC)




1177   07/25/22    22:15:44      0:07        1:30          6789               1024           3509058269944117     310280017634648   MT   [NIOP]
                                                                                                   APPLE
                                                                                                IPHONE12PRO




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                                                                                                                                         Page 74
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                                                                       MOBILITY
3839422                                Case 2:22-cv-01527-DAD-AC Document 61-13 Filed 03/06/24 Page 5 of 5
01/21/2024                    AT&T has queried for records from 06/25/2022 12:00:00am to 09/01/2022 11:59:59pm
                              AT&T has queried for records using Pacific Time Zone. AT&T's records are stored and provided in
                              UTC.



Run Date:                   01/21/2024
Run Time:                   14:33:22
Voice Usage For:                     1024

Item     Conn.      Conn.      Seizure      ET     Originating         Terminating                 IMEI                 IMSI        CT   Feature
         Date        Time        Time              Number              Number
                    (UTC)




1182   07/25/22    22:31:51     0:09        5:08          1024                6789           3509058269944117     310280017634648   MO     []
                                                                                                   APPLE
                                                                                                IPHONE12PRO




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                                                                                                                                         Page 75
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